    Case 1:20-cv-04160-JGK-OTW Document 120-3 Filed 07/14/22 Page 1 of 2




IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

  HACHETTE BOOK GROUP, INC.,                              Case No. 1:20-CV-04160-JGK
  HARPERCOLLINS PUBLISHERS LLC,
  JOHN WILEY & SONS, INC., and
  PENGUIN RANDOM HOUSE LLC,
                     Plaintiffs,
  v.

  INTERNET ARCHIVE and DOES 1 through
  5, inclusive,
                    Defendants.

                                  NOTICE OF MOTION

PLEASE TAKE NOTICE that upon the annexed Affidavit of Rebecca Tushnet, and the proposed
brief amicus curiae annexed thereto, Rebecca Tushnet shall move this Court, before the
Honorable John G. Koeltl, United States District Judge, at a date and time to be determined by
the Court, for leave to file the proposed brief amicus curiae.

                                           /s/ Rebecca Tushnet

                                           Rebecca Tushnet
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                                           520 Hauser, Harvard Law School
                                           1575 Massachusetts Avenue
                                           Cambridge, MA 02130
                                           Telephone: 703-593-6759

                                           Attorney for Amici Curiae
    Case 1:20-cv-04160-JGK-OTW Document 120-3 Filed 07/14/22 Page 2 of 2




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  5, inclusive,
                    Defendants.


I, Rebecca Tushnet, hereby declare:
I am the Frank Stanton Professor of Law at Harvard Law School.
I submit this Declaration to provide the Court with a copy of the brief I propose to file as amicus
curiae in support of Defendant, attached hereto as Exhibit B.
Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury that the foregoing is true and
correct.


Executed on July 14, 2022


_______________
Rebecca Tushnet
